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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

DESHAWN DRUMGO,
Plaintiff, C.A. No. 14-1135-CFC
Vv. JURY TRIAL DEMANDED

SGT. WILLIAM KUSCHEL,

Defendant.

STIPULATION AND wapseces! ORDER REGARDING LIMITED

DISCOVERY AND CASE SCHEDULE

 

 

WHEREAS, a two-day jury trial is scheduled for this action, beginning on
December 13, 2021 at 8:30 a.m. (see June 7, 2021 Oral Order);

WHEREAS, counsel for the parties have conferred and have agreed that
certain limited deposition and written discovery needs to be completed in this action
prior to trial, including the deposition of Defendant, who has yet to be deposed in
this case; the depositions of three inmate witnesses who submitted affidavits in
support of Plaintiffs claims in this case; and limited written discovery requests; and

WHEREAS, the parties have agreed upon a limited schedule for this action;

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
the parties, and subject to the approval of the Court that:

1. The following deadlines shall apply in this case:
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Deadline for Completion of “September 1 7, 2021

Depositions

 

Close of Fact Discovery September 17, 2021

 

Deadline for the parties to meet and | October 6, 2021
confer regarding proposed Motions in
Limine and schedule for briefing
Motions in Limine (if any)

 

Deadline to file Motions for Leave To | September 24, 2021
File Motions For Summary Judgment
(if any)’

Deadline for Plaintiff to provide draft | October 8, 2021
of Pre-Trial Order to Defendant
(Local Rule 16.3(d))

 

 

Deadline for Defendant to provide October 26, 2021
draft of Pre-Trial Order to Plaintiff
(Local Rule 16.3(d))

 

Proposed Pre-Trial Order, Jury November 9, 2021 at 6:00 p.m.
Instructions, Voir Dire, Preliminary
Jury Instructions, Final Jury
Instructions, Special Verdict Form

 

 

 

 

Pre-Trial Conference November 30, 2021 at 3:00 p.m.
Jury Trial December 13, 2021 at 8:30 a.m.
(unchanged)

 

 

' The parties acknowledge that summary judgment practice, if it occurs, will
necessitate moving the trial date.

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2. The parties shall follow the procedures set forth in this Court’s form
Scheduling Order for Non-Patent Cases, including in the event that a
discovery dispute arises (paragraph 7); for pretrial submissions
(paragraphs 13-16, 18); and for trial (paragraph 19). Those procedures are

incorporated by reference as if fully stated herein.

Dated: July 15, 2021

 

STATE OF DELAWARE MCCARTER & ENGLISH, LLP
DEPARTMENT OF JUSTICE

/s/ Anna Elizabeth Currier /s/ Daniel M. Silver

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$O ORDERED, this_/S™ day of Ly

United States District Judge
